                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                            NO. 5:18-CR-452-1-FL

UNITED STATES OF AMERICA,                )
                                         )
                   v.                    ) ORDER TO SEAL
                                         )
LEONID ISAAKOVICH TEYF,                  )
    Defendant.                           )


      Upon motion of the United States, it is hereby ORDERED, for good cause shown,

D.E. 538 in the above-captioned matter be sealed until such time as requested to be

unsealed by the United States Attorney and the court orders it unsealed.

      It is FURTHER ORDERED that the Clerk of Court make available to the parties

filed copies of the same.

                                      13th day of March 2020.
                            This, the ____



                                         _________________________________
                                         LOUISE W. FLANAGAN
                                         United States District Judge




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